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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 APRIL L. SHIRING,

                 Plaintiff,

         vs.                                          Civil Action No.:     2:19-cv-1500

 LIFE INSURANCE COMPANY OF
 NORTH AMERICA,

                 Defendant.


                                   PLAINTIFF’S COMPLAINT

        AND NOW, comes the Plaintiff, April L. Shiring, by and through her undersigned counsel,

Max Petrunya, Esquire and the law firm of Max Petrunya, P.C., and files the within Complaint to

recover benefits due under a long-term disability policy issued by Defendant Life Insurance

Company of North America (herein after referred to as “LINA” or “Cigna”).

                                   JURISDICTION and VENUE

        1.      This action is brought pursuant to 28 U.S.C. § 1332. This Court has jurisdiction

based upon diversity of the parties and the amount in controversy. Additionally, this is an action

brought pursuant to Section 502(a), (e)(1) and (f) of ERISA 29 U.S.C. §§1132(a)(e)(1) and (f).

This Court has subject matter jurisdiction pursuant to 29 U.S.C. §1132(e)(1), 28 U.S.C. §1331 and

28 U.S.C. §1367(a). Under Section 502(f) of ERISA, 29 U.S.C. §1132(f), the Court has jurisdiction

without respect to the amount in controversy or the citizenship of the parties.

        2.      Venue is properly laid in this district pursuant to 28 U.S.C. §1391(a), as the Plaintiff

resides in this district, became disabled in this district, was issued the subject insurance policy in

this district, and the Defendant is subject to personal jurisdiction in this district.
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                                             PARTIES

       3.      Plaintiff April L. Shiring is an adult individual residing at 1804 Greenleaf Street,

Pittsburgh, Allegheny County, Pennsylvania 15211.

       4.      Accordingly, Ms. Shiring is a citizen of Pennsylvania.

       5.      Defendant Life Insurance Company of North America (which operates under the

name “Cigna”) is a corporation with its principal place of business at 1601 Chestnut Street, 2

Liberty Place, Philadelphia, Pennsylvania 19192.

                                              FACTS

       6.      April L. Shiring was employed by Defendant Cigna as s Short-Term Disability

Claims Manager.

       7.      Ms. Shiring left work due to disability on March 16, 2018 due to a seizure disorder

she experienced.

       8.      Ms. Shiring collected short-term disability benefits from Defendant Cigna due to

her seizure disorder.

       9.      Ms. Shiring attempted to return to work following the exhaustion of her short-term

disability benefits, however, Ms. Shiring still suffered from seizures and the medication she was

prescribed by her neurologist was not working.

       10.     Ms. Shiring applied for Long-Term Disability benefits on September 6, 2018.

       11.     Ms. Shiring’s claim for Long-Term Disability benefits was denied on October 15,

2018, despite the fact that Ms. Shiring meets the definition of disabled of her own employer Cigna.

       12.     Ms. Shiring is still under the care of her neurologist, still suffers from her seizure

disorder, and still is unable to work at her job or any job due to her condition.

       13.     As of last week, Ms. Shiring was in the hospital again to due seizures.
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          14.   Ms. Shiring filed timely appeals and was denied any further benefits based on her

condition on November 8, 2019. Ms. Shiring was informed by Cigna that she now had the right to

bring action in Federal Court to recover her long-term disability benefits.

          15.   To this day, Ms. Shiring’s injuries and disabling conditions prevent her from

performing the substantial duties of her job, and further prevents her from performing the material

and substantial duties for any gainful employment.

          16.   Accordingly, Ms. Shiring is disabled and prevented from doing her job, or any job,

due to her debilitating medical conditions.

          17.   Cigna’s denial of Ms. Shiring’s Long-Term Disability benefits constitutes a

wrongful denial of benefits to which she is entitled.

          18.   Given Ms. Shiring’s condition, Ms. Shiring remains disabled as defined by the

policy.

          19.   Ms. McWilliams filed timely appeals for benefits. Ms. McWilliams’ appeals were

denied, and Ms. McWilliams has exhausted all of her administrative remedies associated with

these appeals as of October 10, 2019.

                                                    COUNT I

            ERISA CLAIM FOR BENEFITS UNDER THE PLAN – 29 U.S.C. 1132(a)(1)(b)

          20.   Plaintiff incorporates by reference all preceding paragraphs as though fully set forth

at length herein, and further alleges as follows.

          21.   The plan provides that Plaintiff is entitled to replacement disability income

(“disability benefits”) based upon her becoming and remaining disabled within the meeting of the

plan.
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        22.     Plaintiff has established his disability within the meaning of the plan and is entitled

to disability benefits because she is unable to perform his occupation and is also unable to perform

the material and substantial duties of any gainful occupation for which she is reasonably fitted by

training, education, or experience.

        23.     On or about October 15, 2018, Defendant denied disability benefits. Defendant has

not paid Plaintiff disability benefits from October 15, 2018 to the present. Plaintiff is entitled to

payment of disability benefits under the plan, because her medical conditions prevented, and

continues to prevent, her from performing the material and substantial duties of her regular

occupation and continues to prevent her from performing the material and substantial duties of any

gainful occupation for which she is reasonably fitted by training, education, or experience.

        24.     Defendant’s denial of long-term disability benefits constitutes a wrongful denial of

benefits governed by ERISA, and adversely affects the Plaintiff’s eligibility for long-term

disability benefits.

        WHEREFORE, the Plaintiff, April L. Shiring, demands judgment in her favor and against

the Defendant Life Insurance Company of North America in an amount in excess of the

jurisdictional limits, plus costs of suit, plus pre- and post-judgment interest, plus attorney’s fees

and costs.

                                                   Respectfully submitted,

                                                   By: /s/ Max Petrunya
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